Case 2:08-cv-00415-SJO-AGR Document 280 Filed 02/04/09 Page 1 of 6 Page ID #:5529
Case 2:08-cv-00415-SJO-AGR Document 280 Filed 02/04/09 Page 2 of 6 Page ID #:5530
Case 2:08-cv-00415-SJO-AGR Document 280 Filed 02/04/09 Page 3 of 6 Page ID #:5531
Case 2:08-cv-00415-SJO-AGR Document 280 Filed 02/04/09 Page 4 of 6 Page ID #:5532




     1                            CERTIFICATE OF SERVICE
     2        I hereby certify that on February 4, 2009, I electronically filed the foregoing
     3 with the Clerk of the Court using the CM/ECF system which will send notification of
     4 such filing to the e-mail addresses denoted on the attached Electronic Mail Notice
     5 List, and I hereby certify that I have mailed the foregoing document or paper via the
     6 United States Postal Service to the non-CM/ECF participants indicated on the attached
     7 Manual Notice List.
     8        I certify under penalty of perjury under the laws of the United States of America
     9 that the foregoing is true and correct. Executed on February 4, 2009.
    10
                                                    s/ Timothy G. Blood
    11                                                      TIMOTHY G. BLOOD
    12                                              COUGHLIN STOIA GELLER
                                                      RUDMAN & ROBBINS LLP
    13                                              655 West Broadway, Suite 1900
                                                    San Diego, CA 92101-3301
    14                                              Telephone: 619/231-1058
    15                                              619/231-7423 (fax)

    16                                              E-mail: timb@csgrr.com
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                                -3-
CM/ECF - California Central District
Case 2:08-cv-00415-SJO-AGR Document 280 Filed 02/04/09 Page 5 of 6 Page ID #:5533




Mailing Information for a Case 2:08-cv-00415-SJO-AGR
Electronic Mail Notice List

The following are those who are currently on the list to receive e-mail notices for this case.

      Lee Albert
       lalbert@murrayfrank.com

      Timothy G Blood
       timb@csgrr.com

      John R Climaco
       jrclim@climacolaw.com

      Jonathan W Cuneo
       jonc@cuneolaw.com

      Bruce A Friedman
       bruce.friedman@bingham.com,donna.mcgee@bingham.com

      Angel A Garganta
       angel.garganta@aporter.com,karen.kosola@aporter.com,maryanne.donaldson@aporter.com,adam.w.levy@aporter.com

      Pamela Gilbert
       pamelag@cuneolaw.com

      Jayne A Goldstein
       jgoldstein@sfmslaw.com

      Leslie Hurst
       leslieh@csgrr.com

      Trenton H Norris
       trent.norris@aporter.com,beth.parker@aporter.com,delicia.soza@aporter.com

      Thomas Joseph O'Reardon , II
       toreardon@csgrr.com,christinas@csgrr.com

      Beth H Parker
       beth.parker@aporter.com

      David Pastor
       dpastor@gilmanpastor.com

      Mark P Pifko
       mark.pifko@aporter.com,leyla.cambel@aporter.com

      Frank E Piscitelli , Jr
       Frank@Piscitellilaw.com

      Gina M Simas
       gina.simas@bingham.com

      Jonathan M Stein
       jstein@csgrr.com,e_file_fl@csgrr.com


                                                             -4-


https://ecf.cacd.uscourts.gov/cgi-bin/MailList.pl?108818723230751-L_497_0-1                            2/3/2009
CM/ECF - California Central District
Case 2:08-cv-00415-SJO-AGR Document 280 Filed 02/04/09 Page 6 of 6 Page ID #:5534


        John J Stoia , Jr
         johns@csgrr.com,e_file_sd@csgrr.com

Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require
manual noticing). You may wish to use your mouse to select and copy this list into your word processing program in order to
create notices or labels for these recipients.

   (No manual recipients)




                                                         -5-


https://ecf.cacd.uscourts.gov/cgi-bin/MailList.pl?108818723230751-L_497_0-1                                        2/3/2009
